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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

PERKINS & MARIE CALLENDER’S INC., et al., | Case No. 11-11795 (KG)

Jointly Administered

Ref Docket No. tit Qa

Debtors.

 

 

ORDER PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE
EXTENDING THE EXCLUSIVE PERIODS WITHIN WHICH THE DEBTORS MAY
FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

Upon the motion (the “Motion”) of the above-captioned debtors and debtors-in-
possession (collectively, the “Debtors”) for entry of an order, pursuant to section 1121(d) of the
Bankruptcy Code and Bankruptcy Rule 9006, extending the exclusive periods within which to
file a chapter 11 plan and solicit acceptances thereof; and upon consideration of the Motion and
all pleadings relating thereto; and the Court finding that (a) it has jurisdiction over the matters
raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334, (b) this is a core proceeding
pursuant to 28 U.S.C. § 157(b)(2), and (c) proper notice of the Motion and the hearing thereon
has been given and that no other or further notice is necessary and it appearing that the relief
requested therein is in the best interest of the Debtors, their estates and creditors and other parties
in interest; and after due deliberation, and good and sufficient cause appearing therefor, it is

hereby ORDERED, ADJUDGED AND DECREED that:

1. The Motion is GRANTED.

 

' The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Perkins &
Marie Callender’s Inc. (4388); Perkins & Marie Callender’s Holding Inc. (3999); Perkins & Marie Callender’s
Realty LLC (N/A); Perkins Finance Corp. (0081); Wilshire Restaurant Group LLC (0938); PMCI Promotions LLC
(7308); Marie Callender Pie Shops, Inc. (7414); Marie Callender Wholesalers, Inc. (1978); MACAL Investors, Inc.
(4225); MCID, Inc. (2015); Wilshire Beverage, Inc. (5887); and FIV Corp. (3448). The mailing address for the
Debtors is 6075 Poplar Avenue, Suite 800, Memphis, TN 38119.

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Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Motion.

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2. The Debtors’ Exclusive Filing Period in these Chapter 11 Cases shall be
extended through and including January 9, 2012.

3. The Debtors’ Exclusive Solicitation Period in these Chapter 11 Cases shall
be extended through and including March 12, 2012.

4. The entry of this Order shall be without prejudice to the rights of the
Debtors to seek further extensions of the Exclusive Periods or to seek other appropziate relief.

5. This Court shall retain jurisdiction with respect to all matters arising from

   

or relating to the implementation of this Order.

Date: October 27 2011

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